Case 4:18-cv-00792-ALM Document 361 Filed 01/14/20 Page 1 of 3 PageID #: 12679



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

DOMAIN PROTECTION, LLC                                 §
                                                       §
V.                                                     §       CASE NO. 4:18-CV-792
                                                       §
SEA WASP, LLC, VERNON                                  §
DECOSSAS, AND GREGORY FAIA                             §

             OPPOSED AMENDED MOTION TO WITHDRAW AS COUNSEL

       Comes now, Roger D. Sanders, J. Michael Young, and the law firm of Sanders, Motley,

Young & Gallardo, PLLC, and file this Motion to Withdraw as Counsel for Defendant Sea

Wasp, LLC.

                                               I.

       Prior to filing this amended motion the undersigned had a number of communications

with general counsel for Sea Wasp and with counsel for the individual defendants about certain

matters that the undersigned has been requested not to disclose. However, the undersigned will

make such disclosures as the Court may direct, which disclosures do not violate the

undersigned’s (and the law firm’s) duties to his client.

                                               II.

       The undersigned believes that good cause exists for the withdrawal motion, and that Sea

Wasp is not disadvantaged by the motion since its general counsel, David Vinterella (who

entered an appearance in this matter on February 19, 2019) can add counsel if needed, so as not

to delay the trial of this matter. As shown in the certificate of conference, counsel for the

individual defendants, has informed the undersigned that they consent to the withdrawal so long

as it does not delay the trial of the case; and neither of the other parties has stated opposition.
Case 4:18-cv-00792-ALM Document 361 Filed 01/14/20 Page 2 of 3 PageID #: 12680



although as a matter of formality, that consent is not presumed since it is unstated at the time of

filing of the original motion.

                                                III.

        There is no substantive reason to delay ruling on this motion since Sea Wasp has no basis

for opposition stated of record and the individual defendants have consented. This is especially

so if this case is not reached at its trial setting of January 21, 2020.

        PREMISES CONSIDERED, the undersigned counsel and firm respectfully request that

the Court enter an Order permitting their withdrawal as counsel of record for Sea Wasp, LLC in

the above-captioned matter.



                                                        Respectfully submitted,


                                                                /s/ Roger Sanders
                                                        Roger D. Sanders
                                                        TX State Bar No. 17604700
                                                        roger.sanders@somlaw.net
                                                        J. Michael Young
                                                        TX State Bar No. 00786465
                                                        myoung@somlaw.net

                                                        SANDERS, MOTLEY, YOUNG & GALLARDO
                                                        111 South Travis Street
                                                        Sherman, Texas 75090
                                                        (903) 892-9133
                                                        (903) 892-4302 (fax)
Case 4:18-cv-00792-ALM Document 361 Filed 01/14/20 Page 3 of 3 PageID #: 12681



                             CERTIFICATE OF CONFERENCE

         On January 10, 2020, the undersigned sent an e-mail to counsel Gary Schepps regarding
the filing of the original motion, seeking to learn whether his client would oppose it. Mr.
Schepps has not responded. He was informed that without response, it would be marked as
being opposed by his client, Domain Protection, LLC. On January 10, 2020, the undersigned
had an e-mail/telephone exchange with general counsel for Sea Wasp, LLC, David Vinterella,
regarding the filing of the original Motion. Mr. Vinterella has not responded substantively with a
clear position from Sea Wasp. He was informed that without such response, this motion would
be marked as opposed by his client, Sea Wasp. The undersigned also communicated with counsel
for the individual Defendants, Mark Strachan and Robert Sayles, who state that their clients are
not opposed to the Motion so long as it does not result in a delay of the case

       So certified.

                                                           /s/ Roger Sanders
                                                     Roger D. Sanders



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document has
been forwarded to all parties to this matter via the electronic delivery system of the Eastern
District of Texas, Sherman Division.

       So certified on this 14th day of January, 2020.

                                                           /s/ Roger Sanders
                                                     Roger D. Sanders
